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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

                             Case No. 2:19-cv-00142-SPC-MRM

  STRIKE 3 HOLDINGS, LLC, a limited liability
  company,

          Plaintiff,

  v.

  JOHN DOE subscriber assigned IP address
  174.63.150.232, an individual,

          Defendant.

                                                  /

          PLAINTIFF’S MOTION FOR LEAVE TO SERVE A THIRD-PARTY
       SUBPOENA PRIOR TO RULE 26(f) CONFERENCE AND INCORPORATED
                   MEMORANDUM OF LEGAL AUTHORITY

          Pursuant to Fed. R. Civ. P. 26(d)(1), Strike 3 Holdings, LLC (“Plaintiff” or

  “Strike 3”), respectfully moves for entry of an order granting it leave to serve a third-

  party subpoena on Comcast Cable, prior to a Rule 26(f) conference (the “Motion”) in

  order to effectuate service on Defendant. In support of this Motion, Plaintiff files the

  following: (1) Declaration of Greg Lansky as Exhibit “A”; (2) Declaration of Tobias

  Fieser as Exhibit “B”; (3) Declaration of Philip Pasquale as Exhibit “C”; and (4)

  Declaration of Susan B. Stalzer as Exhibit “D.” Should the Court authorize Plaintiff to

  submit a Proposed Order, Plaintiff will promptly submit one in accordance with the

  Court’s procedures. Plaintiff provides the following Memorandum of Legal Authority in

  support of this Motion:


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    MEMORANDUM OF LEGAL AUTHORITY IN SUPPORT OF PLAINTIFF’S
   MOTION FOR LEAVE TO SERVE A THIRD-PARTY SUBPOENA PRIOR TO A
                      RULE 26(f) CONFERENCE

  I.       INTRODUCTION

           Strike 3 is the owner of original, award-winning adult motion pictures featured on

  its subscription-based websites.1 Unfortunately, like many other producers of motion

  pictures, Strike 3’s success is substantially harmed and threatened by users on the Internet

  illegally infringing its works on a very large scale. Indeed, Strike 3’s motion pictures are

  among the most infringed content in the world. See Lansky Decl. ¶ 25.2

           To address this problem, Strike 3 hired an investigator, IPP International U.G., to

  monitor and detect the infringement of Strike 3’s content.            IPP discovered that

  Defendant’s IP address was illegally distributing numerous motion pictures owned and

  copyrighted by Strike 3. Strike 3’s independent forensic expert, Philip Pasquale reviewed

  the evidence captured by IPP and confirmed that Defendant’s IP address was involved in

  an infringing transaction at the exact date and time reported by IPP. See generally

  concurrently-filed Declaration of Philip Pasquale. Strike 3 only knows Defendant by his

  or her IP address. This IP address is assigned to Defendant by his or her Internet Service

  Provider (“ISP”), which is the only party that has the information necessary to identify

  Defendant by correlating the IP address with John Doe’s identity.




       1
       See generally concurrently-filed Declaration of Greg Lansky (“Lansky Decl.”).
       2
       See also Dylan Love, The Most-Pirated Man in Porn Is Getting Angry, INVERSE
  (May 24, 2017), https://www.inverse.com/article/31350-greg-lansky-tushy-blacked-
  vixen-interview.


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         As a result, Strike 3 now seeks leave to serve limited, immediate discovery on

  Defendant’s ISP, Comcast Cable Communications, LLC (“Comcast Cable”), so that

  Strike 3 may learn Defendant’s identity, investigate Defendant’s role in the infringement,

  and if warranted by the investigation, effectuate service. Further impelling expediency,

  Defendant’s ISP only maintains the internal logs of the requested information for a brief

  period of time. See Digital Sin, Inc. v. Does 1-176, 279 F.R.D. 239, 242 (S.D.N.Y. 2012)

  (“[E]xpedited discovery is necessary to prevent the requested data from being lost forever

  as part of routine deletions by the ISPs.”).

         Accordingly, Strike 3 hereby seeks leave of Court to serve a Rule 45 subpoena on

  Defendant’s ISP.     This subpoena will only demand the true name and address of

  Defendant. Strike 3 will only use this information to prosecute the claims made in its

  Complaint. Without this information, Plaintiff cannot serve Defendant nor can it pursue

  this lawsuit and protect its copyrights.

  II.    FACTS

         A.      BitTorrent Infringement has a Serious and Damaging Impact on Strike 3.

         Greg Lansky (“Mr. Lansky”) is a member of General Media Systems, LLC,

  (“GMS”), the parent company that owns Strike 3. See Lansky Decl. at ¶ 1. Strike 3

  owns the intellectual property to the Blacked, Blacked Raw, Tushy, and Vixen adult

  brands (the “Brands”), including the copyrights to each of the motion pictures distributed

  through the Brands’ sites and the trademarks to each of the Brand’s names and logos. Id.

  at ¶ 3. Strike 3 is owned entirely by Mr. Lansky’s company, GMS, and has existed since

  2015. Id.


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           Mr. Lansky is the Chief Creative Officer of the Brands. Id. at ¶ 1. In 2006, Mr.

  Lansky moved to the United States from Paris to pursue his dream of creating art in an

  adult context.    Id. at ¶ 4.   He has always been passionate about photography and

  cinematography. Id. It was a difficult start. Mr. Lansky, who barely spoke speak

  English, had trouble making connections and finding employment.                Id. at ¶ 5.

  Eventually, after tremendous hard work, Mr. Lansky was fortunate to be hired by some of

  the biggest adult brands in the world. Id. at ¶ 6. Through these experiences, Mr. Lansky

  was able to establish himself and become an expert in the field. Id.

           In 2013, Mr. Lansky decided to risk everything to create his own company and

  studio. Id. at ¶ 7. After a few years, his Brands turned into a multi-million dollar a year

  business. Id. at ¶ 10. His philosophy is to pay artists and models an amount above that

  being paid by other companies, focusing on delivering superior quality films. Id. at ¶¶

  12–13.     Moreover, Strike 3’s motion pictures are known for having the highest

  production budget of any in the adult industry. Id. at ¶ 15.

           Because of this, the websites for the Brands have a subscriber base that is one of

  the highest of any adult sites in the world, with 20 million unique visitors to its websites

  per month, and have a loyal following. Id. at ¶ 10. Strike 3 is also currently the number

  one seller of adult DVDs in the United States. Id. at ¶ 17. Finally, Strike 3’s content is

  licensed throughout the world, including by most major cable networks. Id. at ¶ 18. This

  success has led to numerous awards being bestowed upon Strike 3, such as “adult site of

  the year,” “best marketing campaign – company image,” and “best cinematography.” Id.

  at ¶ 19. Mr. Lansky himself has also won “director of the year” three years in a row. Id.


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          Unfortunately, piracy is a major threat and causes tremendous damage to Strike 3.

  As Mr. Lansky succinctly puts it, Strike 3 “can compete in the industry, but we cannot

  compete when our content is stolen.” Id. at ¶ 22. To continue to provide value for

  members, exciting and inspiring projects for adult performers, and to continue to create

  top paying jobs and growth in the adult community, Strike 3 must protect its copyrights.

  Id. at ¶ 29.

          B.     Strike 3 Brings its Litigation in Good Faith.

          Strike 3 is mindful of the nature of the litigation and its goal is to not disclose

  publicly the choices people make regarding the content they wish to enjoy. Moreover,

  Strike 3 does not seek to force anyone to settle unwillingly, especially anyone that is

  innocent. Lansky Decl. at ¶ 28. Therefore, Strike 3 only files strong cases against

  extreme infringers. Id. at ¶ 29. Indeed, each lawsuit is brought against infringers that not

  only engage in illegal downloading, but are also large scale unauthorized distributors of

  Strike 3’s content. Id. All defendants within the Strike 3 litigation have distributed, at a

  minimum, at least 15% of Strike 3’s entire copyrighted library. Id. Strike 3 does not

  seek settlements unless initiated by a defendant or a defendant’s counsel. Id. at ¶ 30.

  Moreover, Strike 3 does not send demand letters nor make any attempt to contact a

  defendant prior to service of the Complaint. Id.

          Finally, although certainly Strike 3 does not believe anyone should be

  embarrassed about enjoying Strike 3’s works (they just need to pay for that right, not

  steal it), Strike 3 respects the desire of defendants to keep private their choices regarding

  content they choose to enjoy. Accordingly, Strike 3 has a policy to: (1) enter into


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  confidentiality agreements with defendants to facilitate resolution of cases; and (2)

  stipulate to requests by defendants to the entry of orders in litigation to maintain the

  confidentiality of a defendant’s identity. Thus, Strike 3 is careful to only proceed to

  litigation with strong cases, when it has a good faith basis for doing so, and to enforce its

  rights in a way that is mindful of a defendant’s privacy interests. Id. at ¶ 31.

         Strike 3 is a successful adult entertainment company that makes nearly all of its

  revenue from sales of subscriptions, DVDs, and licenses. Id. at ¶ 32. This litigation, or

  any litigation instituted by Strike 3, is not a business model. Id. Instead, Strike 3’s goal

  is to deter piracy (and seek redress for its harmful consequences) and redirect the

  infringement back into legitimate sales. Id. Proceeds that Strike 3 receives from

  settlements go back into making the company whole, including investing in better pay for

  artists and performers, better quality productions, and hiring and providing benefits for

  employees. Id.

  III.    ARGUMENT

          A.     Legal Standard Governing Expedited Discovery Requests to Identify an
                 Anonymous Defendant.

          “The Federal Rules of Civil Procedure prohibit ‘discovery from any source before

  the parties have conferred as required by Rule 26(f), except,’ inter alia, when authorized

  by court order.” Clear Skies Nevada, LLC v. Doe, No. CV 15-1987-ORL-40-TBS, 2015

  WL 12938950, at *1 (M.D. Fla. Dec. 3, 2015) (citing Fed. R. Civ. P. 26(d)(1) and M.D.

  FLA. R. 3.05(c)(2)(B)). “Permission to take expedited discovery prior to the Rule 26(f)

  conference may be granted upon a showing of good cause.” Malibu Media, LLC v. Doe,



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  No. CV 15-2314-T-17TBM, 2015 WL 12856086, at *1 (M.D. Fla. Nov. 6, 2015)

  (collecting cases).

         “In cases involving infringement via the [I]nternet, courts often evaluate good

  cause by considering factors such as the concreteness of the plaintiff's prima facie case of

  infringement; the specificity of the discovery request; the absence of alternative means to

  obtain the subpoenaed information; and the need for the subpoenaed information to

  advance the claim.” Manny Film LLC v. Doe, No. CV 15-507-T-36EAJ, 2015 WL

  12850566, at *1 (M.D. Fla. May 18, 2015) (citing Arista Records v. Doe 3, 604 F.3d 110,

  119 (2d Cir. 2010) (citing Sony Music Entm't v. Does 1–40, 326 F. Supp. 2d 556, 564–65

  (S.D. N.Y. 2004)). “Plaintiff has established that good cause exists, based on the above-

  referenced factors, for it to serve a third party subpoena on . . . the Internet Service

  Provider . . . .” Malibu Media, LLC v. Doe, No. CV 14-61955, 2014 WL 12605556, at *1

  (S.D. Fla. Nov. 17, 2014); see e.g., Strike 3 Holdings, LLC v. Doe, No. CV 17-1680

  (CSH), 2017 WL 5001474, at *6 (D. Conn. Nov. 1, 2017).

         B.      There Is Good Cause for this Court to Grant Plaintiff’s Motion for Leave
                 to Serve Its Subpoena.

                         1.     Plaintiff’s Complaint Makes A Prima Facie Claim for
                                Direct Copyright Infringement.

         To make a prima facie claim for copyright infringement, Plaintiff must show (1)

  ownership of a valid copyright, and (2) copying of constituent elements of the work that

  are original. Feist Publ'ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991).

  Plaintiff’s Complaint accomplishes this, stating: (1) “Plaintiff is the owner of the Works,

  which [are] an original work of authorship”; (2) “[d]efendant copied and distributed the


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  constituent elements of Plaintiff’s Works using the BitTorrent protocol”; and (3) “[a]t no

  point in time did Plaintiff authorize, permit or consent to Defendant’s distribution of its

  Works, expressly or otherwise.” See Complaint at ¶¶ 35–37.

         Plaintiff owns a valid copyright in the Works, which are registered with the

  United States Copyright Office. See 17 U.S.C. § 410(c); see also Complaint at ¶¶ 31–32.

  Plaintiff’s prima facie allegations of infringement are attested to by Plaintiff’s

  investigator, IPP International U.G.’s employee, Tobias Fieser.        See Declaration of

  Tobias Fieser, Exhibit “B.” Finally, each digital file has been verified to be a copy of one

  of Plaintiff’s copyrighted works. See Declaration of Susan Stalzer, Exhibit “D.”

         Plaintiff has also made a plausible prima facie showing of “copying.” “‘The word

  'copying' is shorthand for the infringing of any of the copyright owner's five exclusive

  rights’ described in § 106.” A&M Records, Inc. v. Napster, Inc., 239 F.3d 1004, 1013

  (9th Cir. 2001). Plaintiff’s Complaint alleges that Defendant not only downloaded

  Plaintiff’s works over the BitTorrent network, see 17 U.S.C. § 106(1), but also distributed

  these files to the BitTorrent swarm. See id. § 106(3); see also Complaint at ¶36. “This is

  sufficient to state a prima facie claim.” Strike 3 Holdings, LLC v. Doe, No. CV 18-777

  (JRT/BRT), 2018 WL 2078707, at *2 (D. Minn. May 4, 2018); see Malibu Media, No.

  CV 15-2314-T-17TBM, 2015 WL 12856086 at *1 (finding a similar claim established a

  prima facie case, particularly because it was “demonstrated through a forensic

  investigation which reasonably confirms that Doe Defendant's IP address was being used

  on the BitTorrent peer-to-peer network to reproduce and display Plaintiff's copyrighted

  work”).


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                         2.     Plaintiff Identifies the Limited and Specific Information Its
                                Subpoena Seeks That Is Necessary to Serve Doe Defendant.

         “Plaintiff’s subpoena clearly seeks relevant information.” Strike 3 Holdings, LLC

  v. Doe, No. CV 18-2648 (VEC), 2019 WL 78987, at *3 (S.D.N.Y. Jan. 2, 2019).

  “Plaintiff's request is specific in that it is limited to basic information such as Doe

  Defendant's name and addresses.” Manny Film, No. CV 15-507-T-36EAJ, 2015 WL

  12850566 at *2. “Courts have labeled the subscriber's identity and address as ‘highly

  specific,’ recognizing that Plaintiffs clearly need identification of the putative John Does

  in order to serve process on them and prosecute their claims . . . .” Strike 3 Holdings, No.

  CV 3:17-1680 (CSH), 2017 WL 5001474 at *3 (citations and internal quotations

  omitted).; Malibu Media, No. CV 15-2313-T-17EAJ, 2015 WL 12850570 at *1

  (“Plaintiff's request is specific in that it is limited to basic information such as Doe

  Defendant's name and addresses.”). “Because the subpoena is sufficiently specific, the

  second principal factor weighs in favor of the Court granting Plaintiff's motion for leave

  to serve the subpoena.” Strike 3 Holdings, No. CV 17-1680 (CSH), 2017 WL 5001474 at

  *3.

                         3.     There Are No “Alternative Means” to Uncover Doe
                                Defendant’s True Identity.

         At this early stage in litigation, “[t]he only information Plaintiff has regarding

  Defendant Doe is his IP address.” Id. at *4. People using the internet are anonymous to

  the public, but the ISPs responsible for assigning any given IP address know who an

  address is assigned to and how to get in contact with them. Since there is no public

  registry of what IP addresses correspond to which subscribers, Plaintiff’s subpoena is


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   necessary to advancing litigation. See Declaration of Philip Pasquale, Exhibit “C”; BMG

   Rights Mgmt. (US) LLC v. Cox Commc'ns, Inc., No. CV 16-1972, 2018 WL 650316, at

   *2 (4th Cir. Feb. 1, 2018) (noting “only the ISP can match the IP address to the

   subscriber's identity”).

            There is simply no alternative means by which Plaintiff can identify Doe

   Defendant absent the present subpoena.          Indeed, “BitTorrent software is ‘largely

   anonymous’ except insofar as it requires a user to broadcast the user's IP address.” John

   Wiley & Sons, Inc. v. Doe, 284 F.R.D. 185, 190 (S.D.N.Y. 2012).            “Plaintiff has

   established that good cause exists for it to serve a third-party subpoena on . . . the ISP

   identified in the complaint, because a Rule 45 subpoena to John Doe's ISP is the only

   way in which Plaintiff can identify John Doe and thus move forward with the case.”

   Malibu Media, LLC v. Doe, No. CV 13–21579, 2013 WL 2950593, *1 (S.D .Fla. June 14,

   2013).

            “Moreover, the information the plaintiff seeks is time sensitive as ISPs do not

   retain user activity logs for an extended duration.” Malibu Media, No. CV 15-2295-T-

   24TGW, 2015 WL 12850568 at *1. “If the information is erased, Plaintiff will be unable

   to link the IP address to Doe Defendant and pursue its infringement lawsuit. In situations

   where ‘time is of the essence,’ courts have found good cause to grant expedited

   discovery.” Id. (citing Arista Records LLC v. Does 1–7, No. CV 3:08–18(CDL), 2008

   WL 542709, at *1 (M.D. Ga. Feb. 25, 2008) (citation omitted)). Simply put, “Plaintiff

   has no other means to uncover Doe Defendant's identity.” Manny Film, No. 15-CV-507-

   T-36EAJ, 2015 WL 12850566 at *2.


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                          4.      The Subpoenaed Information Is Necessary to Advance
                                  Plaintiff’s Infringement Claim.

          As previously emphasized, Plaintiff cannot properly serve Doe Defendant without

   first ascertaining the subscriber’s identity from his or her ISP. As one court aptly framed

   it: “Ascertaining the identities and residences of the Doe defendants is critical to

   plaintiffs' ability to pursue litigation, for without this information, plaintiffs will be

   unable to serve process.” Sony Music Entm't, 326 F. Supp. 2d at 566. “Because learning

   the true identities of the pseudonymous individuals alleged to have violated Plaintiffs'

   copyrights is essential to their prosecution of this litigation, Plaintiffs have demonstrated

   their need for expedited discovery.” Arista Records, 589 F. Supp. 2d at 153. “[W]ithout

   identifying Doe Defendant, Plaintiff cannot issue a summons and serve Doe Defendant in

   this lawsuit. Without participation by Doe Defendant, there can be no meaningful Rule

   26(f) conference. Accordingly, Plaintiff has established good cause for proceeding with

   expedited discovery prior to the Rule 26(f) conference.” Manny Film, No. CV 15-507-T-

   36EAJ, 2015 WL 12850566 at *2.

                          5.      Defendant’s Minimum Privacy Interest Is Substantially
                                  Outweighed by Plaintiff’s Interest in Protecting Its
                                  Copyrights from Mass BitTorrent Infringers.

          “[T]here is no expectation of privacy in ‘subscriber information provided to an

   internet provider,’ such as an IP address.” Strike 3 Holdings, No. CV 3:17-1680 (CSH),

   2017 WL 5001474 at *5 (citation omitted); see also Sony Music Entm't Inc., 326 F. Supp.

   2d at 566–67 (noting Plaintiffs are “entitled to discovery in light of” this minimal

   interest). “Although the Eleventh Circuit has not addressed whether the Fourth



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   Amendment protects IP addresses,3 other courts of appeal have held that it does not.”

   Levinson v. United States, No. CV 14-81244, 2016 WL 5408165, at *2 (S.D. Fla. Sept.

   28, 2016), certificate of appealability denied, No. CV 16-17548, 2017 WL 6760762 (11th

   Cir. May 11, 2017) (collecting cases). Indeed, courts throughout this Circuit have held

   that “Defendant does not have a reasonable expectation of privacy in [his or her] IP

   address . . . .” United States v. Ryan Anthony Adams, No. CR 6:16-11-ORL-40GJK,

   2016 WL 4212079, at *4 (M.D. Fla. Aug. 10, 2016); see also id. at *3 (“Computer users

   lack a legitimate expectation of privacy in information regarding the to and from

   addresses for emails, the IP addresses of websites visited, the total traffic volume of the

   user, and other addressing and routing information conveyed for the purpose of

   transmitting Internet communications to or from a user.”). Here, Plaintiff’s central need

   for the subpoenaed for information, combined with its strong claim, substantially favors

   good cause. See Arista Records, 604 F.3d at 124 (finding Doe Defendant’s “expectation

   of privacy for sharing copyrighted [works] through an online file-sharing network as

   simply insufficient to permit him to avoid having to defend against a claim of copyright

   infringement.”).

          As to free speech concerns, “[i]n cases where parties have argued that the First

   Amendment protected their anonymous speech in using their IP addresses, the Second

   Circuit has held that copyright infringers are not entitled to shield their identities from

   those who seek to enforce their claims under copyright law.” Strike 3 Holdings, No. CV


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    For a discussion on how IP address connect to and route Internet traffic, see generally
   United States v. Steiger, 318 F.3d 1039, 1042 (11th Cir. 2003) and articles cited within.


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   3:17-1680 (CSH), 2017 WL 5001474 at *6 (listing examples). “[T]he Doe Defendant's

   First Amendment right to remain anonymous must give way to Plaintiff's right to use the

   judicial process to pursue its allegedly meritorious copyright infringement claim.

   Moreover, the Doe Defendant lacks the right under the Fourth Amendment to protect his

   IP address from revelation, where he has voluntarily shared such information with the

   Internet Service Provider. Plaintiffs will be granted leave to take early discovery to

   determine the identity of Defendant Doe.” Id. “‘[C]ourts routinely find the balance favors

   granting a plaintiff leave to take early discovery’ of the materials sought by the Plaintiffs

   here.” Arista Records, 589 F. Supp. 2d 151 at 153 (quoting UMG Recordings, Inc. v.

   Doe, No. CV 08–1193, 2008 WL 4104214, at *4 & n. 3 (N.D. Cal. Sept. 3, 2008)).

          C.      Protective Order

          In some BitTorrent cases involving adult content, courts have found it appropriate

   to issue a protective order establishing procedural safeguards such as allowing a

   defendant to proceed pseudonymously. See Manny Film, No. CV 15-507-T-36EAJ, 2015

   WL 12850566 at *2 (employing various safeguards); see also Strike 3 Holdings, LLC v.

   Doe, 2019 WL 78987 at *1 (employing safeguards including allowing the defendant to

   proceed pseudonymously). To that end, Plaintiff respectfully encourages the Court to

   establish procedural protections it deems appropriate.

   IV.    CONCLUSION

          For the foregoing reasons, Strike 3 respectfully requests this Court grant leave to

   Strike 3 to issue a Rule 45 subpoena to Defendant’s ISP.




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                         LOCAL RULE 3.01(g) CERTIFICATION

          As explained in the foregoing Motion, Defendant is known only by an IP

   Address. Because undersigned counsel does not know Defendant’s identity, undersigned

   could not confer with Defendant in accordance with Local Rule 3.01(g) prior to filing this

   Motion.


   Dated: 03/27/2019

                                                Respectfully submitted,

                                               GREENSPOON MARDER, LLP

                                               /s/ Rachel E. Walker______________
                                               RACHEL E. WALKER (FL Bar No. 111802)
                                               600 Brickell Avenue, Suite 3600
                                               Miami, FL 33131
                                               Telephone: (305) 789-2770
                                               Facsimile: (305) 537-3909
                                               Primary Email: Rachel.Walker@gmlaw.com
                                               Secondary Email: Gloria.Donaire@gmlaw.com

                                               Attorneys for Plaintiff




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